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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Holt Healthcare Management Services, Inc.
                                               Plaintiff,
v.                                                          Case No.: 1:16−cv−07281
                                                            Honorable Thomas M. Durkin
Intellicure, Inc,, et al.
                                               Defendant.



                            NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, February 13, 2017:


       MINUTE entry before the Honorable Thomas M. Durkin:Civil case terminated.
Pursuant to stipulation, plaintiff's individual claims against defendants are dismissed with
prejudice and without costs. Plaintiff's class claims against defendants are dismissed
without prejudice and without costs. Plaintiff's claims against John Does 1−10 are
dismissed without prejudice and without costs. The 3/10/2017 status date is vacated. (srn,
)




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